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                  IN THE UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                               CHARLESTON


UNITED STATES OF AMERICA

v.                                     CRIMINAL ACTION NO. 2:02-00226-03
RONALD CONNER

                      MEMORANDUM OPINION AND ORDER

           Pending is defendant’s motion to modify sentence, filed

March 26, 2008, pursuant to 18 U.S.C. § 3582(c)(2).             The motion to

modify sentence is based upon the November 1, 2007, amendment to

U.S.S.G. § 2D1.1, which the United States Sentencing Commission

made retroactive effective March 3, 2008.


           Section 1B1.10(b) controls a defendant’s eligibility for

a reduction in sentence based upon a post-disposition guideline

amendment.   Section 1B1.10(b)(1) provides as follows:

     In determining whether, and to what extent, a reduction
     in the defendant’s term of imprisonment under 18 U.S.C.
     § 3582(c)(2) and this policy statement is warranted, the
     court shall determine the amended guideline range that
     would have been applicable to the defendant if the
     amendment(s) to the guidelines listed in subsection (c)
     had been in effect at the time the defendant was
     sentenced. In making such determination, the court shall
     substitute only the amendments listed in subsection (c)
     for the corresponding guideline provisions that were
     applied when the defendant was sentenced and shall leave
     all other guideline application decisions unaffected.

U.S.S.G. § 1B1.1(b)(1) (emphasis supplied); U.S.S.G. § 1B1.10,

applic. note 1(A) (“Eligibility for consideration under 18 U.S.C.
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§ 3582(c)(2) is triggered only by an amendment listed in

subsection (c) that lowers the applicable guideline range.               . . .

[A] reduction in the defendant’s term of imprisonment is not

authorized under 18 U.S.C. § 3582(c)(2) and is not consistent with

this policy statement if: (i) none of the amendments listed in

subsection (c) is applicable to the defendant . . . .”).


           On August 29, 2003, defendant was sentenced, inter alia,

to a 84-month term of imprisonment.         The August 29, 2003,

Statement of Reasons reflects that defendant was deemed

accountable for 94 grams of cocaine base, which would have

resulted in a base offense level of 32.          Defendant was, however,

given a two-level decrease for a minor role in the offense

pursuant to U.S.S.G. § 3B1.2(b).          In view of that two-point role

reduction, the court also accorded defendant the benefit of

U.S.S.G. § 2D1.1(a)(3), resulting in a base offense level at 30

instead of 32.    See United States v. Conner, No. 2:02-00226-03,

Stmt. of Reasons at 3 (S.D. W. Va. Aug. 29, 2003) (“[T]he

defendant’s Base Offense Level is 32.         However, based on the

court’s finding that the defendant held a minor role in the

offense, the defendant’s Base Offense Level is capped at 30

pursuant to USSG § 2D1.1(a)(3)”); U.S.S.G. § 2D1.1(a)(3) (“[I]f

the defendant receives an adjustment under §3B1.2 . . . the base

offense level under this subsection shall be not more than level

30.”)

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           Section 2D1.1(a)(3) remains unchanged from the 2006

version of the Guidelines that preceded it.            It was thus not

altered by the retroactive amendment.         Inasmuch as defendant’s

guideline range was not calculated pursuant to the pre-amended,

and now altered, version of U.S.S.G. § 2D1.1, he is not entitled

to relief under the retroactive amendment that modified the

cocaine base portions of that guideline section.             Further, had

defendant’s guideline range been based originally upon the offense

level resulting from the 94 grams of cocaine base attributed to

him, the amendment would now result in that base offense level

being reduced to 30, the base offense level applicable to the

defendant at his original sentencing based upon the operation of

U.S.S.G. § 2D1.1(a)(3).      See U.S.S.G. § 2D1.1(c)(5).


           The court, accordingly, ORDERS that defendant’s motion

to modify sentence be, and it hereby is, denied.


           The Clerk is DIRECTED to send a copy of this written

opinion and order to the defendant, the United States Attorney,

the Federal Public Defender, and the United States Probation

Office.

                                          ENTER:      April 1, 2008


                                          John T. Copenhaver, Jr.
                                          United States District Judge

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